Case 2:23-cv-02000-WSS   Document 11-1   Filed 11/20/23   Page 1 of 7




                      EXHIBIT A
                MESITI DECLARATION
         Curriculum Vitae of Nicholas Mesiti, Esq.
Case 2:23-cv-02000-WSS   Document 11-1   Filed 11/20/23   Page 2 of 7
Case 2:23-cv-02000-WSS   Document 11-1   Filed 11/20/23   Page 3 of 7
Case 2:23-cv-02000-WSS   Document 11-1   Filed 11/20/23   Page 4 of 7
      Case 2:23-cv-02000-WSS        Document 11-1       Filed 11/20/23     Page 5 of 7




27.   State University of New York v. Triple O, LLC, 2020 WL 6196152 (N.D.N.Y. 2020) (No.
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28.   State University of New York v. Triple O, LLC, 2021 WL 3287774 (N.D.N/Y. 2021) (No.
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29.   Research Foundation for State University of New York v. Telluric Labs, LLC, 2022 WL
      16789970 (E.D.N.Y. 2022).

30.   CVD Equipment Corp. v. PrecisionFlow Technologies, Inc., 2007 WL 1571666
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31.   S.F.X. Broadcasting of New York, Inc. v. Radio Enterprises, Inc., 1997 WL 599351
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32.   Doctor’s Associates Inc. v. Neverett, 2010 WL 11541815 (N.D.N.Y. 2010).

33.   Rensselaer Polytechnic Institute v. Apple Inc., 2014 WL 12586845 (N.D.N.Y. 2014).

34.   L.M. Sessler Excavating and Wrecking, Inc. v. Bette & Cring, LLC, 2017 WL 4652709
      (W.D.N.Y. 2017).

35.   Tower Products Inc. v. Laird Enterprises Inc., 2020 WL 3453552 (N.D.N.Y. 2020).

36.   Levine v. Landy, 860 F.Supp.2d 184 (N.D.N.Y. 2012).

37.   Research Foundation for State University of New York v. Telluric Labs, LLC, 2023 WL
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39.   Verbal Judo Institute, Inc. v. Vistelar, LLC, 2018 WL 8800685 (N.D.N.Y. 2018).

40.   Rensselaer Polytechnic Institute v. Apple Inc., 2014 WL 1871866 (N.D.N.Y. 2014).

41.   Plump Engineering, Inc. v. Westshore Design Engineers, P.C., 2018 WL 3730168
      (N.D.N.Y. 2018).

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43.   Worldwide Sport Nutritional Supplements, Inc. v. Five Star Brands, LLC, 80 F.Supp.2d
      25 (N.D.N.Y. 1999).

44.   Worldwide Sport Nutritional Supplements, Inc. v. Van Horn Technologies, Inc., 1977 WL
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                                              -4-
      Case 2:23-cv-02000-WSS        Document 11-1       Filed 11/20/23     Page 6 of 7




45.   Fusco Group, Inc. v. Loss Consultants Intern., Inc., 462 F.Supp.2d 321 (N.D.N.Y. 2006).

46.   Charles Ramsey Company, Inc. v. Fabtech-NY LLC, 2020 WL 352614.

47.   Albany Medical College v. Smiths Medical Asd, Inc., 2014 WL 10137686 (N.D.N.Y.
      2014).

48.   Albany Medical College v. Smiths Medical ASD, Inc., 2015 WL 58221 (N.D.N.Y. 2015).




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      Case 2:23-cv-02000-WSS         Document 11-1       Filed 11/20/23   Page 7 of 7




PUBLICATIONS:
Co-Author, A Report of the Recent Trade Dress Cases Within the Second Circuit, 1995,
      American Intellectual Property Law Association, Trademark and Unfair Competition
      Committee.

Co-Author, Federal Circuit Patent Law Decisions 1988, Section 112 Update, published by
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Co-Author, Separate Juries for Liability and Damages in Patent Cases, New York Law Journal,
      November 22, 1988.


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Internaional Trademark Law Association.
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Dean's List, Presidential Honors


LANGUAGES:           Italian.




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